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Order Form (01/2005)


                              United States District Court, Northern District of Illinois

     Name of Assigned Judge       Rebecca R. Pallmeyer             Sitting Judge if Other
        or Magistrate Judge                                         than Assigned Judge

   CASE NUMBER                          09 C 5710                              DATE                      1/25/2012
            CASE                   Shams Jaffer vs. Board of Trustees of Community College District #508, et al
            TITLE

  DOCKET ENTRY TEXT

  Pursuant to Stipulation of Dismissal, the above cause is dismissed with prejudice, and without costs or
  attorney’s fees awarded to any party. Status hearing set for 1/26/2012 is stricken.




                                                                                                          Notices mailed by Judicial staff.




                                                                                            Courtroom Deputy                ETV
                                                                                                      Initials:




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